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                                                                                       United States Bankruptcy Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                             January 26, 2024
                           FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                      )
                                                      )
In re:                                                )   Chapter 11
                                                      )
SMILEDIRECTCLUB, INC., et al.                         )   Case No. 23-90786 (CML)
                                                      )
                 Debtors.                             )   (Jointly Administered)
                                                      )
                                                      )

                           ORDER DENYING DEBTORS’ MOTIONS AND
                             CONVERTING CASES TO CHAPTER 7
                                [Relates to Docket Nos. 463, 464, 555]

             For the reasons stated on the record at the January 24, 2024 hearing, it is hereby

                       Ordered that the Debtors’ motions filed at Docket Nos. 463 and 464 are denied;
   and it is further
                   Ordered that the following cases are immediately converted to cases
   under Chapter 7 of the Bankruptcy Code:

                                    23-90784       SmileDirectClub, LLC
                                    23-90785       Ortho Lab Services, LLC
                                    23-90786       SmileDirectClub, Inc.
                                    23-90787       Access Dental Lab, LLC
                                    23-90788       CAMF II, LLC
                                    23-90789       SDC Financial LLC
                                    23-90790       SDC Holding, LLC
                                    23-90791       SDC Plane, LLC
                                    23-90792       SmileFarm, LLC



         August26,
         January 02,2024
                     2019
